     Case: 1:24-cv-00658 Document #: 80 Filed: 06/10/24 Page 1 of 1 PageID #:585

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Zafar Sheikh
                                 Plaintiff,
v.                                                    Case No.: 1:24−cv−00658
                                                      Honorable Martha M. Pacold
Bashir Chaudry, et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 10, 2024:


        MINUTE entry before the Honorable Martha M. Pacold: Defendant's request to
reset the motion hearing is granted. The telephone hearing on plaintiff's motion to bar Gus
Konstantine from dual representations of Defendant Choudhry and Chaus creating serious
conflict of interests, [71], is reset to 6/17/2024 at 10:00 a.m. Dial toll−free call−in number:
888−684−8852; followed by the conference access code: 9482028#. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions deemed necessary by the court. (rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
